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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
                        Plaintiff,              )
                                                )      No. 20 CR 00077
                v.                              )
                                                )      Judge Kennelly
COURTRIGHT,                                     )
                                                )
                        Defendant.              )

                                        STATUS REPORT

       Defendant, Mr. Courtright, by and through his counsel, provides this Status Report, per

this Court’s recent Order and in advance of the parties’ August 17, 2022 status conference:

       Defendant’s counsel has been provided access to the Relativity database by the Receiver’s

vendor, which the Receiver had previously created. That access is through remote log-in, so no

additional outside vendor is needed to be retained by Defendant’s counsel in order load that data

or to house it. Defendant’s counsel and Defendant will continue to be able to search that database.

       Defendant’s counsel has also been provided with two fairly massive disk drives by the

Receiver’s vendor.

       It will not be possible to house that data on a computer or Surface based upon the volume

of that data. Accordingly, that data will have to be loaded onto a system by an e-vendor, and

housed on a platform by that vendor, with access then being provided to Defendant’s counsel and

Mr. Courtright. Defendant’s counsel anticipates filing a CJA Motion to allow that to happen, and

anticipates filing that prior to the August 17, 2022 status hearing.

       Finally, the Receiver’s vendor, which provided the above data, has provided an invoice to

Defendant’s counsel. Defendant’s counsel assumes that this Court will want or require
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Defendant’s counsel to seek the payment of that invoice through the CJA. Accordingly,

Defendant will likewise seek the appointment of the Receiver’s vendor under the CJA for the

purpose of having that invoice paid – and in the event that the vendor has to incur additional costs

if it is discovered or determined that not all of the data is contained within the three data sources it

has provided to-date, namely, the Relativity database and the two massive disk drives.




                                                        Respectfully submitted,

                                                By:     s/ Michael I. Leonard
                                                        MICHAEL I. LEONARD
                                                        One of the attorneys for Defendant



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                             CERTIFICATE OF SERVICE

       The undersigned states that he caused to filed the above documents and served upon all
counsel of record on August 12, 2022, by using this Court’s ecf filing system.




                                                   Respectfully submitted,

                                            By:    s/Michael I. Leonard
                                                   MICHAEL I. LEONARD
